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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS


MARION DIAGNOSTIC CENTER, LLC;
MARION HEALTHCARE, LLC; and
ANDRON MEDICAL ASSOCIATES,
individually and on behalf of all others similarly
situated,                                                NOTICE OF APPEARANCE

                            Plaintiffs,

               v.

BECTON, DICKINSON, AND
COMPANY; PREMIER, INC.; VIZIENT,
INC.; CARDINAL HEALTH, INC.;
OWENS & MINOR INC.; HENRY
SCHEIN, INC.; and UNNAMED
BECTON DISTRIBUTOR CO-
CONSPIRATORS,
                     Defendants.



       PLEASE TAKE NOTICE that Justin M. Ellis hereby appears as counsel for Plaintiffs

Marion Diagnostic Center, LLC, Marion HealthCare, LLC, and Andron Medical Associates,

individually and on behalf of all others similarly situated.

May 3, 2018
New York, New York

                                                               /s/ Justin M. Ellis
                                                               Justin M. Ellis
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                                                               Attorney for Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 3, 2018, I caused the foregoing Notice of Appearance to be

served on all counsel of record by filing the same with the Court’s CM/ECF system.



                                                          /s/ Justin M. Ellis
